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                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF CALIFORNIA
             BEFORE THE HONORABLE KIMBERLY J. MUELLER

RALPH COLEMAN, et al.,           No. 2:90-cv-0520 KJM DB P

          Plaintiffs,

     v.                          MINUTES


GAVIN NEWSOM, et al.,            Date: October 23, 2020
                                 Deputy Clerk: C. Schultz
          Defendants.            Court Reporter: Jennifer Coulthard
_________________________/

Counsel for Plaintiffs:
Michael Bien
Lisa Ells
Ernest Galvan
Thomas Nolan
Jessica Winter
Amy Xu

Counsel for Defendants:
Kyle Lewis
Elise Thorn
Lucas Hennes
Monica Anderson
Adriano Hrvatin
Namrata Kotwani

EVIDENTIARY HEARING (Day 1):
 9:20 a.m.    All parties present as listed above. The court and
              counsel discussed preliminary matters. The court
              confirmed receipt of the parties’ Stiuplation
              regarding Authenticity, ECF No. 6919. The court
              clarified that it will keep an electronic copy of
              the exhibits from the hearing today until it
              resolves this matter, then the exhibits will be
              destroyed. The court GRANTED Plaintiffs’ Motion to
              Exclude Witnesses. The court clarified that they
              may communicate with witnesses on breaks, but not
              during the proceedings nor during a witness’s
              testimony.
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9:35 a.m.    The court heard oral argument from Ms. Ells and Ms.
             Thorn as to Defendants’ Motion in Limine to Exclude
             the Testimony of Plaintiffs’ Experts Adam Scott
             Lauring, M.D., Ph.D, and Pablo Stewart, M.D. at the
             October 23, 2020 Evidentiary Hearing on Transfers
             to Inpatient Care, ECF 6922. After careful
             considerations of the parties’ arguments and for
             the reasons as stated on the record, the court
             DEFERRED a ruling.
9:50 a.m.    Mr. Lewis presented Defendants’ opening statements.
10:00 a.m.   Ms. Ells presented Plaintiffs’ opening statements.
10:10 a.m.   Defendants’ witness, Dr. Katherine Warburton, Ph.D,
             sworn and testified on direct. (Examination
             conducted by Mr. Hennes.)
10:50 a.m.   Ms. Ells began cross examination of Dr. Warburton.
11:27 a.m.   All parties and witness excused for a morning
             break.
11:37 a.m.   Court back in session. All parties and defense
             witness, Dr. Katherine Warburton, Ph.D, present.
             Ms. Ells confirmed she was finished with her cross
             examination. Mr. Hennes began redirect examination
             of Dr. Warburton.
11:40 a.m.   Ms. Ells began recross examination of Dr.
             Warburton.
11:45 a.m.   Witness excused subject to recall. Defendants’
             witness, Dr. Amar Mehta, Ph.D, sworn and testified
             on direct. (Examination conducted by Mr. Lewis.)
12:00 p.m.   All parties excused for a lunch break.
12:45 p.m.   Court back in session. All parties present as
             noted above. The court and counsel discussed
             housekeeping matters.
12:50 p.m.   Defense witness, Dr. Mehata, present. Mr. Lewis
             continued his direct examination of Dr. Mehta.
1:15 p.m.    Ms. Winter began cross examination of Dr. Mehta.
1:55 p.m.    Mr. Lewis began redirect examination of Dr. Mehta.
1:58 p.m.    Ms. Winter began recross examination of Dr. Mehta.
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2:00 p.m.   Mr. Lewis began re-redirect examination of Dr.
            Mehta.
2:02 p.m.   Witness excused subject to recall. Defendants’
            witness, Dr. Joseph Bick, sworn and testified on
            direct. (Examination conducted by Mr. Lewis.)
2:15 p.m.   All parties and witness excused for an afternoon
            break.
2:25 p.m.   Court back in session. All parties and defense
            witness, Dr. Bick, present. Mr. Lewis continued
            direct examination of Dr. Bick.
2:35 p.m.   Mr. Galvan began cross examination of Dr. Bick.
3:28 p.m.   Mr. Lewis began redirect examination of Dr. Bick.
3:30 p.m.   Witness excused subject to recall. Mr. Lewis
            advised the court they had no additional witnesses
            to call at this time. At Defendants’ request, the
            court took a short break.
3:40 p.m.   Court back in session. All parties present. Mr.
            Lewis confirmed Defendants’ case-in-chief has been
            presented.
3:42 p.m.   The court heard further oral argument from Ms. Ells
            and Ms. Thorn as to Defendants’ Motion in Limine to
            Exclude the Testimony of Plaintiffs’ Experts Adam
            Scott Lauring, M.D., Ph.D, and Pablo Stewart, M.D.
            at the October 23, 2020 Evidentiary Hearing on
            Transfers to Inpatient Care, ECF 6922. After
            careful considerations of the parties’ additional
            arguments and for the reasons as stated on the
            record, the court DENIED the motion as to both
            witnesses.
3:45 p.m.   Plaintiffs’ witness, Dr. Adam Lauring, M.D., Ph.D,
            sworn and testified on direct. (Examination
            conducted by Ms. Ells.)
4:20 p.m.   Ms. Thorn began cross examination of Dr. Lauring.
4:59 p.m.   Ms. Ells began redirect examination of Dr. Lauring.
5:00 p.m.   Witness excused. The court and counsel discussed
            scheduling.
5:02 p.m.   All parties excused for an evening break.
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5:12 p.m.   Court back in session. All parties present. The
            court and counsel discussed a housekeeping matter.
5:15 p.m.   Plaintiffs’ witness, Dr. Pablo Stewart, M.D., sworn
            and testified on direct. (Examination conducted by
            Mr. Nolan.)
5:45 p.m.   Ms. Thorn began cross examination of Dr. Stewart.
5:57 p.m.   Mr. Nolan advised the court that Plaintiffs have no
            further questions for Dr. Stewart. Ms. Ells advised
            the court that Plaintiffs did not intend to call
            anymore witnesses; however, Plaintiffs did wish to
            move for the admission of several documents. After
            discussion with the parties, the court directed the
            parties meet and confer regarding the additional
            documents. The parties may brief any objections
            related to those documents.
6:05 p.m.   Defendants’ witness, Dr. Joseph Bick, recalled to
            provide rebuttal testimony. (Examination conducted
            by Mr. Lewis.)
6:10 p.m.   Witness excused. Defendant’s witness, Dr.
            Katherine Warburton, Ph.D, recalled to provide
            rebuttal testimony. (Examination conducted by Mr.
            Hennes.)
6:20 p.m.   Witness excused. Defendant’s witness, Dr. Amar
            Mehta, Ph.D, recalled to provide rebuttal
            testimony. (Examination conducted by Mr. Lewis.)
6:22 p.m.   Witness excused. Mr. Galvan advised the court that
            he had a question for Dr. Mehta. Because Dr. Mehta
            had already been excused from the virtual
            courtroom, the court and counsel discussed
            housekeeping matters.
6:23 p.m.   Dr. Mehta returned to the virtual courtroom. Mr.
            Galvan conducted cross rebuttal examination of Dr.
            Mehta.
6:24 p.m.   Witness excused. The court and counsel discussed
            housekeeping matters. The court granted the
            parties seven (7) days to finalize their exhibit
            lists. The court directed the parties meet and
            confer regarding closing briefs, and noted that
            closing briefs would be limited to twenty (20)
            pages.
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 6:30 p.m.    Court adjourned.

EXHIBITS ADMITTED:

P-22; P-56; P-95; P-97; P-99; P-100; P-101; P-103; P-107; D-9;

D-10; D-12; D-15; D-22; D-32; and      D-43


TIME IN COURT: 7 Hour, 50 Minutes




*These proceedings were held via videoconferencing using the
Zoom application.
